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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

    ANDREW MORGAN,                                     No. 4:21-CV-00533

                Plaintiff,                             (Chief Judge Brann)

         v.

    ALLISON CRANE & RIGGING LLC
    d/b/a ALLISON CRANE & RIGGING,

               Defendant.

                             MEMORANDUM OPINION

                                      JUNE 3, 2025

I.      BACKGROUND

        On March 23, 2021, Plaintiff Andrew Morgan filed a three-count Amended

Complaint against Defendant Allison Crane & Rigging LLC (“Allison Crane”).1

Following the completion of discovery, Allison Crane moved for summary judgment.

In its April 18, 2023 Memorandum Opinion, this Court granted Defendant’s motion for

summary judgment, and Morgan promptly appealed this decision.2 The United States

Court of Appeals for the Third Circuit disposed of this appeal on September 4, 2024 by

vacating in part, reversing in part, and affirming in part this Court’s April 18, 2023

ruling.3 Allison Crane then filed a Second Motion for Summary Judgment on December




1
     Amended Compl., Doc. 13.
2
     Apr. 18, 2023 Mem. Op, Doc. 48; Mandate of USCA, Doc. 60.
3
     Id.
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13, 2024.4 That motion is now ripe for disposition; for the reasons that follow, it is

denied.

II.      STANDARD

         Under Federal Rule of Civil Procedure 56, summary judgment is appropriate

where “the movant shows that there is no genuine dispute as to any material fact and

the movant is entitled to judgment as a matter of law.”5 Material facts are those “that

could alter the outcome” of the litigation, “and disputes are ‘genuine’ if evidence exists

from which a rational person could conclude that the position of the person with the

burden of proof on the disputed issue is correct.”6 A defendant “meets this standard

when there is an absence of evidence that rationally supports the plaintiff’s case.”7

Conversely, to survive summary judgment, a plaintiff must “point to admissible

evidence that would be sufficient to show all elements of a prima facie case under

applicable substantive law.”8

         In assessing “whether there is evidence upon which a jury can properly proceed

to find a verdict for the [nonmoving] party,”9 the Court “must view the facts and

evidence presented on the motion in the light most favorable to the nonmoving party.”10

Moreover, “[i]f a party fails to properly support an assertion of fact or fails to properly


4
      Second Motion for Summary Judgment, Doc. 65.
5
      FED. R. CIV. P. 56(a).
6
      EBC, Inc. v. Clark Bldg. Sys., Inc., 618 F.3d 253, 262 (3d Cir. 2010).
7
      Clark v. Mod. Grp. Ltd., 9 F.3d 321, 326 (3d Cir. 1993).
8
      Id.
9
      Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986) (quoting Schuylkill & Dauphin Imp.
      Co. v. Munson, 81 U.S. 442, 448 (1871)).
10
      Razak v. Uber Techs., Inc., 951 F.3d 137, 144 (3d Cir. 2020).

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address another party’s assertion of fact as required by Rule 56(c),” the Court may

“consider the fact undisputed for purposes of the motion.”11 Finally, although “the court

need consider only the cited materials, . . . it may consider other materials in the

record.”12

III.    UNDISPUTED FACTUAL BACKGROUND

        Both parties have incorporated their statements of material facts from the initial

motion for summary judgment. Accordingly, the Court readopts its statement of the

undisputed facts from its April 18, 2023 Memorandum Opinion, as reproduced below.

        In 2019 and 2020, Andrew Morgan was employed by Allison Crane as a

Millwright Laborer.13 During that employment, Morgan was supervised by, among

others, Brian Bonislawski, who, by 2020, became the supervisor for Allison Crane’s

Williamsport, Pennsylvania location.14 On September 29, 2020, Morgan injured his

back while on the job.15 Although Morgan completed his shift that day, he informed his

coworkers and supervisor about the pain that he was experiencing.16 Morgan continued

to work for the remainder of the week, although he experienced pain and contemplated

seeking medical treatment.17




11
     FED. R. CIV. P. 56(e)(2); see also Weitzner v. Sanofi Pasteur Inc., 909 F.3d 604, 613-14 (3d
     Cir. 2018).
12
     FED. R. CIV. P. 56(c)(3).
13
     Doc. 35 ¶¶ 2, 12; Doc. 40-1 ¶ 2.
14
     Doc. 35 ¶ 13; Doc. 40-1 ¶ 13.
15
     Doc. 35 ¶¶ 16-18; Doc. 40-1 ¶¶ 16-18.
16
     Doc. 35 ¶¶ 19-20; Doc. 40-1 ¶¶ 19-20.
17
     Doc. 35 ¶¶ 21-22; Doc. 40-1 ¶¶ 21-22.

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        Morgan states that, on October 1 or 2, 2020, he presented to a chiropractor who

diagnosed Morgan with a bulged or herniated disk in the lower back.18 No diagnostic

testing confirmed the presence of a bulged or herniated disk, and Morgan did not seek

medical treatment from anyone other than the chiropractor.19 Morgan treated his injury

through twice-weekly appointments with his chiropractor, but did not receive any

prescription pain medication or surgery.20

        On October 8, 2020 and again on October 22, 2020, Morgan’s chiropractor wrote

notes asking that, for a period of fourteen days, Allison Crane not require Morgan to do

any bending or lifting of anything over fifteen pounds.21 On November 5, 2020, the

chiropractor wrote a note asking that Morgan be excused from bending or lifting

anything over thirty pounds for the next thirty days.22 Morgan provided these notes to

his supervisors.23

        On October 7, 2020, Morgan met with several supervisors and told those

individuals that he was injured, that he was in pain, and that he was receiving medical

care for his injury.24 Morgan was informed that he would be placed on light duty at

work but that there was no workers’ compensation issue at that time.25 Morgan’s




18
     Doc. 35 ¶¶ 23-24; Doc. 40-1 ¶¶ 23-24.
19
     Doc. 35 ¶¶ 26-27; Doc. 40-1 ¶¶ 26-27.
20
     Doc. 35 ¶¶ 28-29; Doc. 40-1 ¶¶ 28-29.
21
     Doc. 35 ¶¶ 31-32.
22
     Doc. 35 ¶ 33.
23
     Doc. 35 ¶ 34; Doc. 40-1 ¶ 34.
24
     Doc. 35 ¶¶ 35-37; Doc. 40-1 ¶¶ 35-37.
25
     Doc. 35 ¶ 38; Doc. 40-1 ¶ 38.

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supervisors also stated that they did not believe that his injury was severe, that he could

not file for unemployment, and that his injury did not qualify for short-term disability.26

        Following his injury, Morgan researched how to open a workers’ compensation

claim, but did not discuss filing a workers’ compensation claim with anyone at Allison

Crane.27 Morgan was also informed by his supervisors that they did not believe the

injury constituted a workers’ compensation matter.28 Morgan was thereafter put on light

duty and continued to work fulltime—at the same wage—without missing any work

until November 17, 2020.29 On November 13, 2020, Morgan was disciplined for

allegedly not wearing appropriate protective equipment at work.30

        On November 17, 2020, Morgan was assigned to drive a truck to escort a crane

from a job site in Syracuse, New York.31 Morgan informed the dispatcher through a

series of text messages that he could not perform the task assigned to him because it

would involve an eight- or ten-hour drive, and Morgan had a bank appointment that he

did not wish to miss.32 And Morgan also stated in his deposition that he had spoken

with another dispatcher over the phone and stated that he could not perform the assigned

task because “that long of a trip would inflame my back and I could have severe pain,




26
     Doc. 35 ¶¶ 39-41; Doc. 40-1 ¶¶ 39-41.
27
     Doc. 35 ¶¶ 51-53; Doc. 40-1 ¶¶ 51-53.
28
     Doc. 40-1 ¶ 31; Doc. 44 ¶ 31.
29
     Doc. 35 ¶¶ 42-44; Doc. 40-1 ¶¶ 42-44.
30
     Doc. 35 ¶ 45; Doc. 40-1 ¶ 45.
31
     Doc. 35 ¶ 46; Doc. 40-1 ¶ 46.
32
     Doc. 35 ¶ 46; Doc. 40-1 ¶ 46. See Doc. 40-16 at 2 (test message exchanges between Morgan
     and the dispatcher).

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that I would not be able to sit for that long.”33 On November 18, 2020, Morgan’s

employment with Allison Crane was terminated by Bonislawski, reportedly because

Morgan failed to appear for his assigned job escorting the crane on November 17.34

        Morgan’s chiropractor removed any work restrictions related to the back injury

on November 25, 2020.35 And Morgan has received no medical treatment for his back

injury since that date, and he suffers no pain or limitations as a result of that injury,

although he believes that it is possible that he could aggravate the injury in the future.36

Morgan is currently employed by the Borough of Jersey Shore, Pennsylvania

performing labor and maintenance, such as snow removal, grass cutting, and sidewalk

work.37

IV.     DISCUSSION

        The only issue presently before the Court is whether summary judgment should

be granted as to Morgan’s failure to accommodate and retaliation claims under the

Americans with Disabilities Act (“ADA”) and Pennsylvania Human Relations Act

(“PHRA”). The parties extensively briefed the issue of whether Defendant waived its

ability to seek summary judgment on these claims. As Morgan’s claims survive

summary judgment on the merits, I instead proceed directly to that analysis.




33
     Doc. 40-4 at 13.
34
     Doc. 35 ¶¶ 48-49; Doc. 40-1 ¶¶ 48-49.
35
     Doc. 35 ¶ 56; Doc. 40-1 ¶ 56.
36
     Doc. 35 ¶¶ 57-60; Doc. 40-1 ¶¶ 57-60.
37
     Doc. 35 ¶ 61; Doc. 40-1 ¶ 61.

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        A.      The Retaliation Claims38

                1.     Plaintiff’s Prima Facie Case

        “To establish a prima facie case of retaliation under the ADA, a plaintiff must

show: (1) protected employee activity; (2) adverse action by the employer either after

or contemporaneous with the employee’s protected activity; and (3) a causal connection

between the employee’s protected activity and the employer’s adverse action.”39

Allison Crane only challenges the third element.

        “Evidence of timing between protected activity and adverse action, alone,

ordinarily is insufficient to demonstrate a causal link unless the timing is ‘unusually

suggestive’ of retaliatory motive.”40 The Third Circuit has observed that “[a]n inference

of ‘unduly suggestive’ temporal proximity begins to dissipate where there is a gap of

three months or more between the protected activity and the adverse action.”41 Our

Court of Appeals then applied this three month time frame to conclude that “[a] jury

could find that the proximity” between an email complaint to human resources about




38
     The Court applies the same standard to Plaintiff’s PHRA retaliation claim “except where there
     is something specifically different in its language requiring that it be treated differently.”
     Soutner v. Penn State Health, 841 F. App’x 409, 414 (3d Cir. 2021) (quoting Fogleman v.
     Mercy Hosp., Inc., 283 F.3d 561, 567 (3d Cir. 2002)). “Neither party points to any relevant
     difference.” Id.
39
     Krouse v. Am. Sterilizer Co., 126 F.3d 494, 500 (3d Cir. 1997) (internal citations excluded).
40
     McLaughlin v. Fisher, 277 F. App’x 207, 218 (3d Cir. 2008) (quoting Krouse, 126 F.3d at
     503).
41
     Moody v. Atl. City Bd. of Educ., 870 F.3d 206, 221 (3d Cir. 2017) (citing LeBoon v. Lancaster
     Jewish Cmty. Ctr. Ass’n, 503 F.3d 217, 233 (3d Cir. 2007)).

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discrimination to the employee’s termination six weeks later “is enough to infer

causation.”42

        The final note from Morgan’s chiropractor was provided a mere thirteen days

before his termination.43 Defendant’s attempt to argue that this timing is not unduly

suggestive is unpersuasive. Thirteen days does not approach the length of time the Third

Circuit has suggested casts doubt on causation. Further, there is disputed evidence

before the Court that only one day passed between Morgan’s latest request for an

accommodation and his termination. Defendant’s argument that Plaintiff was only

terminated after failing to show for the November 17, 2020 job assignment improperly

asks the Court to ignore, or assign little weight to, the fact Morgan claimed he raised

his accommodations with the dispatcher on November 16, 2020. He was then

terminated a day later after failing to complete that job assignment. As such, Plaintiff

has adequately established his prima facie case.

                2.     Defendant’s Non-Retaliatory Reason

        But Allison Crane can adequately rebut this prima facie case by pointing to

Morgan’s employment issues on November 13 and November 17, 2020. These qualify

as “a legitimate, non-retaliatory reason for its adverse employment action.”44

Accordingly, the Court must determine whether Plaintiff can adequately rebut this non-

retaliatory reason.


42
     Qing Qin v. Vertex, Inc., 100 F.4th 458, 477 (3d Cir. 2024).
43
     Doc. 40, Ex. 10 (Plaintiff’s Notes).
44
     Jalil v. Avdel Corp., 873 F.2d 701, 706 (3d Cir. 1989).

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                3.     Plaintiff’s Rebuttal of the Non-Retaliatory Reason

        “The ultimate burden of persuasion, which remains always with the plaintiff,

may . . . be met by proving by a preponderance of the evidence that the alleged reasons

proffered by the defendant were pretextual and that the defendant intentionally

discriminated against the plaintiff.”45 “Circumstantial evidence may suffice to

challenge the defendant’s alleged reasons as pretextual.”46 If Morgan can rebut any

proffered explanation, “[s]ummary judgment is inappropriate” due to the existence of

“a factual issue regarding the employer’s true motivation for discharge.”47

        Allison Crane’s Absentee Policy states that “[r]epeated occurrences of being

tardy, absent or not following the policy will result in verbal counseling, written

counseling, and/or suspension or termination of employment.”48 These options

exemplify the company’s progressive disciplinary policy, but Allison Crane reserved

the ability to directly escalate to termination, “especially when it falls under gross

misconduct.”49 Brian Bonislawski agreed that “call[ing] out of work six times within

the span of a month” would qualify as gross misconduct.50 But when asked about

excessive absenteeism, Bonsilawski hedged by noting that “it depends on the




45
     Id.
46
     Id.
47
     Id.
48
     Doc. 40, Ex. 21 (Absenteeism Policy).
49
     Doc. 40, Ex. 7 (Bonislawski Dep.) at 41:4-15. Bonislawski described gross misconduct as
     issues such as “theft, fraud, deliberate falsification of records, fighting, assault on another
     person or insubordination.” Id. at 41:4-9.
50
     Id. at 41:23-42:2.

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situation.”51 For health or family issues, Defendant will “really work with people quite

a bit” when compared with an employee who simply fails to show for work.52 Repeated

failures to show “would be more or less” initially addressed with progressive discipline

but could eventually fall under gross misconduct.53

        Due to Morgan’s prior verbal warning and his failure to perform the escort job,

Bonislawski did not consider an alternative form of discipline for Morgan.54 He in fact

characterized Morgan’s failure to show as “insubordination, which falls under gross

misconduct . . . .”55 Bonislawski also did not reach out to Morgan to discuss why he

failed to perform the November 17 escort job nor did he review the text message

conversation between Morgan and the dispatcher until after he terminated Morgan.56

Plaintiff also provided evidence of other employees who were not terminated until

repeated incidents of absenteeism or tardiness had occurred.

        These factual issues are sufficient to rebut the non-retaliatory reason provided by

Defendant. They suggest an inconsistent application of Defendant’s disciplinary

policies to Morgan after he claims to have made an additional accommodation request.

As such, I deny the Second Motion for Summary Judgment as to Morgan’s retaliation

claims.


51
     Id. at 43:7-17.
52
     Id. at 43:7-17.
53
     Id. at 43:7-17.
54
     Id. at 67:14-21. The Court notes that Morgan testified that “90 percent of the people that would
     come into the yard to do yard work did not have one form of the required PPE on at any given
     time. And they never were wrote up about it.” Doc. 40, Ex. 4 (Morgan Dep.) at 52:7-11.
55
     Doc. 40, Ex. 7 (Bonislawski Dep.) at 67:14-21.
56
     Id. at 66:10-11, 67:22-24.

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        B.      Failure to Accommodate Claim57

        “Discrimination under the ADA encompasses not only adverse actions motivated

by prejudice and fear of disabilities, but also includes failing to make reasonable

accommodations for a plaintiff’s disabilities.”58 “A plaintiff bringing an ADA failure-

to-accommodate claim must establish: (1) he was disabled and his employer knew it;

(2) he requested an accommodation or assistance; (3) his employer did not make a good

faith effort to assist; and (4) he could have reasonably accommodated.”59

        “To determine the appropriate reasonable accommodation[,] it may be necessary

for the [employer] to initiate an informal, interactive process with the [employee] . . .

.”60 “[A]n employer can show its good faith in many ways, such as: meeting with the

employee; requesting information about the employee’s condition and limitations;

asking the employee what accommodation she wants; showing some sign of having

considered her request; and offering and discussing available alternatives when the

request is too burdensome.”61 “[W]here there is a genuine dispute about whether the

employer acted in good faith, summary judgment will typically be precluded.”62




57
     The Court applies the same legal standard for both an ADA and PHRA failure to accommodate
     claim. Soutner v. Penn State Health, 841 F. App’x 409, 415 (3d Cir. 2021) (citing Colwell v.
     Rite Aid Corp., 692 F.3d 495, 499 n.3 (3d Cir. 2010)).
58
     Ruggiero v. Mount Nittany Med. Ctr., 736 F. App’x 35, 39 (3d Cir. 2018) (quoting Taylor v.
     Phoenixville Sch. Dist., 184 F.3d 296, 306 (3d Cir. 1999)).
59
     Capps v. Mondelez Global, LLC, 847 F.3d 144, 157 (3d Cir. 2017).
60
     Ruggiero, 736 F. App’x at 39 (quoting Taylor, 184 F.3d at 311).
61
     Ruggiero, 736 F. App’x at 39.
62
     Lewis v. Univ. of Pa., 779 F. App’x 920 (3d Cir. 2019) (quoting Taylor, 184 F.3d at 318).

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        The notes from Morgan’s chiropractor restricted him “from doing any bending

or lifting anything at work over” certain weight limits.63 Allison Crane believes this did

not provide notice that Morgan could not drive. Bonislawski indicated that “typically a

doctor would write that they didn’t want him to drive . . . because they know they have

to bend to get to work, to drive a vehicle.”64 Bonislawski also conceded that driving a

vehicle requires you to be “somewhat bent”65

        But Defendant seemingly never created a list of appropriate duties compatible

with Morgan’s limitations.66 Instead, the relevant dispatcher, Jared Houseknecht,

identified activities he viewed as light duty.67 These tasks included “escorting

equipment” and “light yard work duties.”68 Accordingly, Houseknecht viewed the

November 17, 2020 escort job as a light duty task despite acknowledging the trip would

have been nine-to-ten hours long.69 Notably, Houseknecht could not recall whether

Morgan had been assigned any lengthy escort jobs prior to the November 17, 2020

assignment,70 and he asserted, in contradiction to Morgan’s own testimony, that

Plaintiff never informed him there was an assignment he could not complete for medical

reasons.71



63
     Doc. 40, Ex. 10 (Plaintiff’s Notes).
64
     Doc. 40, Ex. 7 (Bonislawski Dep.) at 36:2-9.
65
     Id. at 33:18-35:8.
66
     Doc. 40, Ex. 12 (Houseknecht Dep.) at 68:17-19.
67
     Id. at 68:24-69:2.
68
     Id. at 69:17-19.
69
     Id. at 33:23-34:5, 35:22-36:2.
70
     Id. at 37:18-38:4.
71
     Id. at 38:5-10.

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        Finally, on November 17, 2020, Allison Crane ultimately retrieved the crane

from New York but left a trailer with its counterweights that had to be retrieved the

following day.72 It took Houseknecht approximately twenty minutes to identify this

alternative action plan, but he indicated that it did come at an additional cost as the

company “had to send another truck driver to go up to New York to get the

equipment.”73

        The disputed record before the Court prevents it from granting summary

judgment on these claims. There are disputes as to what Plaintiff’s work restrictions

actually were and whether he complained about his inability to complete the November

17, 2020 assignment due to his back pain. These disputes implicate both Allison Crane’s

knowledge of Morgan’s required accommodations for his disability and its efforts to

accommodate that disability. Under the narrative created by Plaintiff, Defendant failed

to engage in any kind of process with him when faced with an additional

accommodation request. While Allison Crane may ultimately be able to convince a jury

that Morgan “was just trying to get out of work,”74 it is not the Court’s role to make that

determination. Accordingly, I deny summary judgment on these claims as well.




72
     Id. at 79:3-5.
73
     Id. at 42:21-24, 43:15-20.
74
     Doc. 74 at 10.

                                            13
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V.    CONCLUSION

      Due to the factual disputes before the Court, I will deny Defendant’s Second

Motion for Summary Judgment.

      An appropriate Order follows.

                                              BY THE COURT:


                                              s/ Matthew W. Brann
                                              Matthew W. Brann
                                              Chief United States District Judge




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